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                                                         U.S. Department of Justice

                                                         Matthew M. Graves
                                                         United States Attorney

                                                         District of Columbia

                                                         Judiciary Center
                                                         555 Fourth St., N.W.
                                                         Washington, D.C. 20530




                                                         November 30, 2021

Via Email and Electronic File Transfer

Nicholas Smith
7 East 20th Street
Suite 4R
New York, NY 10003

                Re:    United States v. Ethan Nordean et al., Cr. No.: 21-cr-175 (TJK)

Dear Counsel:

         I write to memorialize another production related to the above-captioned case as part of the
government’s ongoing efforts to produce preliminary discovery on an expedited basis.
Specifically, this afternoon, the government produced certain materials from Mr. Nordean’s case
file maintained by the Federal Bureau of Investigation. Please note that the file names bear the
titles as assigned by the FBI’s electronic systems.

        Please note that certain of the materials have been designated Sensitive under the
Protective Order entered in this case. Such materials have been produced in separate folders. In
addition, an index of the produced materials is included with the production. The “file names” that
appear in the index are a reproduction of the information that exists in the FBI’s electronic systems.

       The materials described herein have been made available for download on USAfx. Please
keep in mind that all of the items placed in the USAfx case-folder will be deleted automatically –
some in as few as 60 days. Please let me know immediately if you have been unable to access and
download the materials for your use in this case.

       We understand that our discovery obligations are ongoing and intend to supplement our
disclosures on a rolling basis. If you have any questions, please do not hesitate to contact us.

       Please contact me should you have any questions or concerns.
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                                   Sincerely yours,

                                   MATTHEW M. GRAVES
                                   UNITED STATES ATTORNEY

                             By:          /s/
                                   Luke M. Jones
                                   Assistant United States Attorney
                                   555 4th Street, N.W.
                                   Washington, D.C. 20530
                                   (202) 252-7066
                                   Luke.jones@usdoj.gov




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               Index of Production of Nordean Files on November 30, 2021

Files Designated Sensitive as to All Defendants (except Nordean)

     Serial
    Number                                        File Name
        2        266O-SE-3380382_0000002.pdf
        2        266O-SE-3380382_0000002_1A0000010_0000001.pdf
        4        266O-SE-3380382_0000004_1A0000012_0000001_PHYSICAL.pdf
        8        266O-SE-3380382_0000008.pdf
        8        266O-SE-3380382_0000008_Import.pdf
        9        266O-SE-3380382_0000009.pdf
        9        266O-SE-3380382_0000009_Import.pdf
       10        266O-SE-3380382_0000010.pdf
       10        266O-SE-3380382_0000010_Import.pdf
       11        266O-SE-3380382_0000011.pdf
       11        266O-SE-3380382_0000011_Import.pdf
       12        266O-SE-3380382_0000012.pdf
       12        266O-SE-3380382_0000012_Import.pdf
       28        266O-SE-3380382_0000028_1A0000016_0000001.pdf
       29        266O-SE-3380382_0000029.pdf
       29        266O-SE-3380382_0000029_Import.pdf
       40        266O-SE-3380382_0000040_1A0000108_0000001.png
       47        266O-SE-3380382_0000047.pdf
       47        266O-SE-3380382_0000047_Import.pdf
       58        266O-SE-3380382_0000058_1A0000015_0000001_PHYSICAL (Media).zip
       86        266O-SE-3380382_0000086.pdf
       86        266O-SE-3380382_0000086_Import.pdf
       89        266O-SE-3380382_0000089.pdf
       92        266O-SE-3380382_0000092_1A0000001_0000005.pdf
      100        266O-SE-3380382_0000100.pdf
      100        266O-SE-3380382_0000100_1A0000041_0000001.xlsx
      103        266O-SE-3380382_0000103.pdf
      126        266O-SE-3380382_0000126.pdf
      133        266O-SE-3380382_0000133.pdf
      150        266O-SE-3380382_0000150.pdf
      150        266O-SE-3380382_0000150_1A0000078_0000001.pdf
      150        266O-SE-3380382_0000150_1A0000078_0000002.zip
      155        266O-SE-3380382_0000155.pdf
      155        266O-SE-3380382_0000155_1A0000079_0000001_PHYSICAL.pdf
      162        266O-SE-3380382_0000162.pdf
      163        266O-SE-3380382_0000163.pdf
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      163        266O-SE-3380382_0000163_1A0005817_0000001.png
      165        266O-SE-3380382_0000165.pdf
      165        266O-SE-3380382_0000165_1A0000021_0000001.pdf

Files Designated Sensitive as to All Defendants (including Nordean)

     Serial
    Number                                   File Name
       40        266O-SE-3380382_0000040_1A0000107_0000001.pdf
       40        266O-SE-3380382_0000040_1A0000109_0000001.png
      148        266O-SE-3380382_0000148.pdf
      166        266O-SE-3380382_0000166.pdf
      166        266O-SE-3380382_0000166_1A0000063_0000001.pdf




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